 Case 1:21-cv-08353-PAE Document 62 Filed 07/11/22 Page 1 of 37




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

CHRISTOPHER UNDERWOOD, LOUIS
OBERLANDER, and HENRY RODRIGUEZ
on behalf of themselves and all others    Case No. 1:21-cv-08353-PAE
similarly situated,

                    Plaintiffs,
                                          ORAL ARGUMENT REQUESTED
             v.

COINBASE GLOBAL, INC., COINBASE,
INC., and BRIAN ARMSTRONG,

                    Defendant.


 LOUIS OBERLANDER, HENRY RODRIGUEZ, AND CHRISTOPHER
   UNDERWOOD’S MEMORANDUM OF LAW IN OPPOSITION
           TO DEFENDANTS’ MOTION TO DISMISS




Steven L. Bloch                          Jordan A. Goldstein
Ian W. Sloss                             Mitchell Nobel
SILVER GOLUB & TEITELL LLP               SELENDY GAY ELSBERG PLLC
184 Atlantic Street                      1290 Avenue of the Americas
Stamford, CT 06901                       New York, NY 10104
Tel: 203-325-4491                        Tel: 212-390-9000
isloss@sgtlaw.com                        jgoldstein@selendygay.com
sbloch@sgtlaw.com                        mnobel@selendygay.com

Attorneys for Louis Oberlander, Henry
Rodriguez, and Christopher Underwood
             Case 1:21-cv-08353-PAE Document 62 Filed 07/11/22 Page 2 of 37




                                                  TABLE OF CONTENTS

                                                                                                                                    Pages

PRELIMINARY STATEMENT .....................................................................................................1

BACKGROUND .............................................................................................................................2

LEGAL STANDARD......................................................................................................................5

ARGUMENT ...................................................................................................................................5

I.        Plaintiffs Plausibly Allege That Coinbase Sold And Solicited The Sale Of
          Unregistered Securities In Violation Of Section 12(a)(1) Of The Securities Act ...............5

          A.         Coinbase Is The Seller In Each Transaction ............................................................5

                     1.         Plaintiffs Have Properly Alleged That Coinbase Is The Direct
                                Seller Of The Tokens ...................................................................................6

                     2.         Coinbase’s Holding Of Customer Assets In Shared Accounts
                                Means It Is The Direct Seller .......................................................................8

                     3.         Coinbase’s Attempts To Evade Plaintiffs’ Allegations Fail ........................9

          B.         Coinbase’s User Agreements Cannot Defeat Plaintiffs’ Well-Pleaded
                     Allegations Regarding Coinbase’s Role As A Seller ............................................12

          C.         Coinbase Admits That Plaintiffs’ Securities Act Claims Are Properly
                     Pleaded in All Other Respects ...............................................................................16

          D.         Plaintiffs Properly Allege Coinbase Solicited Sales Of The Tokens .....................17

II.       Plaintiffs Adequately Plead Claims Under The Exchange Act .........................................17

          A.         Section 29(b) Of The Exchange Act Provides A Private Cause Of Action
                     To Rescind Contracts That Violate The Act’s Registration Requirements
                     For Securities Exchanges And Broker/Dealers......................................................17

          B.         Plaintiffs Properly Allege That Coinbase Entered Contracts To Sell Them
                     Securities In Violation Of The Exchange Act’s Registration Requirements .........20

          C.         Plaintiffs’ Exchange Act Claims Are Timely ........................................................22

III.      The Amended Complaint Provides Adequate Notice To Each Defendant ........................24

IV.       Plaintiffs Properly Plead Federal Control Person Claims ..................................................27

V.        The Amended Complaint Properly Pleads Claims Under State Law ................................29

                                                                     i
            Case 1:21-cv-08353-PAE Document 62 Filed 07/11/22 Page 3 of 37




          A.         The State Claims Survive For The Same Reason As The Federal Claims ............29

          B.         The State Law Claims Are Timely ........................................................................30

          C.         The State Law Control Person Claims Survive .....................................................30

CONCLUSION ..............................................................................................................................30




                                                                    ii
             Case 1:21-cv-08353-PAE Document 62 Filed 07/11/22 Page 4 of 37




                                                 TABLE OF AUTHORITIES


Cases

Anderson v. Binance, 2022 WL 976824 (S.D.N.Y. Mar. 31, 2022) ....................................... 11, 23

Anwar v. Fairfield Greenwich Ltd., 728 F. Supp. 2d 372 (S.D.N.Y. 2010) ................................. 26

Badie v. Bank of Am., 67 Cal. App. 4th 779 (1998)...................................................................... 14

Boguslavsky v. Kaplan, 159 F.3d 715 (2d Cir. 1998) ................................................................... 18

California Pub. Employees’ Ret. Sys. v. ANZ Sec., Inc., 137 S. Ct. 2042 (2017)......................... 23

Cohen v. Citibank, N.A., 954 F. Supp. 621 (S.D.N.Y. 1996) ....................................................... 19

CompuDyne Corp. v. Shane, 453 F. Supp. 2d 807 (S.D.N.Y. 2006) ............................................ 28

Corley v. United States, 11 F.4th 79 (2d Cir. 2021) ....................................................................... 5

Couldock & Bohan, Inc. v. Société Generale Sec. Corp., 93 F. Supp. 2d 220 (D. Conn.
      2000) ................................................................................................................................. 18

Demaria v. Gisbex Clearing Corp., S.A., 2010 WL 11553316 (S.D. Fla. Nov. 23, 2010)........... 19

Direction Assocs., Inc. v. Programming & Sys., Inc., 412 F. Supp. 714 (S.D.N.Y. 1976) .......... 24

Diskin v. Lomasney & Co., 452 F.2d 871 (2d Cir. 1971) ............................................................. 24

EdgePoint Cap. Holdings, LLC v. Apothecare Pharm., LLC, 6 F.4th 50 (1st Cir. 2021) ............ 18

EMA Fin., LLC v. Vystar Corp., Inc, 2021 WL 1177801 (S.D.N.Y. Mar. 29, 2021)................... 19

EMA Fin., LLC v. Vystar Corp., Inc., 2021 WL 5998411 (S.D.N.Y. Dec. 20, 2021) .................. 19

Fezzani v. Bear, Stearns & Co., 384 F. Supp. 2d 618 (S.D.N.Y. 2004) ....................................... 29

Garrett v. Tandy Corp., 295 F.3d 94 (1st Cir. 2002) .................................................................... 20

Giant Food, Inc. v. Washington Coca-Cola Bottling Co., Inc., 273 Md. 592 (1975)................... 21

GLK, L.P. v. Four Seasons Hotel Ltd., 22 So. 3d 635 (Fla. Dist. Ct. App. 2009) ........................ 30

Goodman v. Shearson Lehman Bros., 698 F. Supp. 1078 (S.D.N.Y. 1988)................................. 19

Hao Zhe Wang v. Verizon Commc'ns Inc., 2020 WL 5982882 (S.D.N.Y. Oct. 8, 2020) ............. 27

Hom v. Vale, S.A., 2016 WL 880201 (S.D.N.Y. Mar. 7, 2016) .................................................... 11

                                                                      iii
             Case 1:21-cv-08353-PAE Document 62 Filed 07/11/22 Page 5 of 37




In re Global Crossing Ltd. Secs. Litig., 2005 WL 1875445 (S.D.N.Y. Aug. 5, 2005)................. 28

In re Parmalat Sec. Litig., 412 F. Supp. 2d 392 (S.D.N.Y. 2006)................................................ 11

In re Parmalat Secs. Litig., 375 F. Supp. 2d 278 (S.D.N.Y. 2005) .............................................. 28

In re Polaroid ERISA Litig., 362 F. Supp. 2d 461 (S.D.N.Y. 2005). ........................................... 25

In re PXRE Grp., Ltd., Sec. Litig., 600 F. Supp. 2d 510 (S.D.N.Y. 2009) ................................... 11

In re Refco Sec. Litig., 759 F. Supp. 2d 301 (S.D.N.Y. 2010) ........................................................ 8

In re Tronox, Inc., 769 F. Supp. 2d 202 (S.D.N.Y. 2011) ............................................................ 29

In re Vivendi Universal, S.A., 381 F. Supp. 2d 158 (S.D.N.Y. 2003) .......................................... 28

Independent Investor Protective League v. N.Y. Stock Exchange, 367 F. Supp. 1376
       (S.D.N.Y. 1973), ................................................................................................................. 7

Jackson v. Fischer, 2015 WL 1143582 (N.D. Cal. Mar. 13, 2015) .............................................. 30

Jamie S. v. Milwaukee Pub. Schools, 668 F.3d 481 (7th Cir. 2012) ............................................. 11

Lynch v. City of N.Y., 952 F.3d 67 (2d Cir. 2020) ...................................................................... 5, 6

McMahan & Co. v. Wherehouse Ent., Inc., 65 F.3d 1044 (2d Cir. 1995) .............................. 15, 16

NovaFund Advisors, LLC v. Capitala Group, LLC, 2020 WL 230089 (D. Conn. Jan. 14,
      2020) ................................................................................................................................. 18

Palmer v. Thomson & McKinnon Auchincloss, Inc., 474 F. Supp. 286 (D. Conn. 1979) ............ 22

Patrico v. Voya Fin., Inc. 2017 WL 2684065 (S.D.N.Y. June 20, 2017) ..................................... 27

People v. Debt Resolve, Inc., 387 F. Supp. 3d 358 (S.D.N.Y. 2019). .......................................... 26

Pinter v. Dahl, 486 U.S. 622 (1988) ............................................................................... 7, 9, 17, 23

Plumbers’ & Pipefitters’ Local No. 562 Supp. Plan & Trust v. J.P. Morgan Acceptance
      Corp., 2012 WL 601448 (E.D.N.Y. Feb. 23, 2012) ......................................................... 27

Pompano-Windy City Partners, Ltd. v. Bear Stearns & Co., Inc., 794 F. Supp. 1265
     (S.D.N.Y. 1992) .......................................................................................................... 18, 20

Regional Props., Inc. v. Fin. & Real Est. Consulting Co., 752 F.2d 178 (5th Cir. 1985) ............ 18

Rodman v. Safeway, Inc., 694 F. App’x 612 (9th Cir. 2017)........................................................ 14

Rogen v. Ilikon Corp., 361 F.2d 260(1st Cir. 1966) ..................................................................... 16

                                                                      iv
             Case 1:21-cv-08353-PAE Document 62 Filed 07/11/22 Page 6 of 37




Roling v. E*Trade Secs., LLC, 756 F. Supp. 2d 1179 (N.D. Cal. 2010) ...................................... 14

Scottrade, Inc. v. BroCo Invs., Inc., 774 F. Supp. 2d 573 (S.D.N.Y. 2011) ................................. 18

Seafarers Pension Plan ex rel. Boeing Co. v. Bradway, 23 F.4th 714, 720 (7th Cir. 2022) ........ 16

SEC v. First Jersey Secs., Inc., 101 F.3d 1450 (2d Cir. 1996) ..................................................... 28

See Rhoades v. Powell, 644 F. Supp. 645 (E.D. Cal. 1986) ......................................................... 20

Slomiak v. Bear Stearns & Co., 597 F. Supp. 676 (S.D.N.Y. 1984). ............................... 18, 21, 22

Smith v. Campbell, 782 F.3d 93 (2d Cir. 2015) ............................................................................ 23

Talon Pro. Servs., LLC v. CenterLight Health Sys. Inc., 2021 WL 1199430 (S.D.N.Y.
       Mar. 30, 2021)................................................................................................................... 17

Transamerica Mortg. Advisors, Inc. v. Lewis, 444 U.S. 11 (1979) .............................................. 17

U.S. ex rel. Foreman v. AECOM, 19 F.4th 85 (2d Cir. 2021) ...................................................... 12

Vantone Grp. LLC v. Yangpu NGT Indus. Co., Ltd., 2015 WL 4040882 (S.D.N.Y. Jul. 2,
      2015) ................................................................................................................................. 25

Western Fed. Corp. v. Erickson, 739 F.2d 1439 (9th Cir. 1984) .................................................. 18

Wigand v. Flo-Tek, Inc., 609 F.2d 1028 (2d Cir. 1979)................................................................ 24

Statutes

15 U.S.C. § 77n ............................................................................................................................. 15

15 U.S.C. § 78c ............................................................................................................................. 21

15 U.S.C. § 78cc ............................................................................................................... 15, 22, 29

Cal. Corp. Code § 25501............................................................................................................... 29

Cal. Corp. Code § 25504............................................................................................................... 30

Fla. Stat. § 517.211 ....................................................................................................................... 29

Fla. Stat. § 95.031 ......................................................................................................................... 30

N.J. Stat. § 49:3-71 ................................................................................................................. 29, 30

Treatises

23 Williston on Contracts § 62:22 (4th ed.) .................................................................................. 21

                                                                       v
         Case 1:21-cv-08353-PAE Document 62 Filed 07/11/22 Page 7 of 37




       Plaintiffs Louis Oberlander, Henry Rodriguez, and Christopher Underwood, individually

and on behalf of all others similarly situated, respectfully submit this memorandum of law in

opposition to the Motion to Dismiss (“Motion” or “MTD”) filed by Defendants Coinbase Global,

Inc. (“Coinbase Global”), Coinbase, Inc., and Brian Armstrong (together, “Defendants”).

                                 PRELIMINARY STATEMENT

       Defendants Coinbase Global and Coinbase, Inc. (together, “Coinbase”), which both act at

the direction of Defendant Armstrong, operate crypto-exchanges that offer and sell unregistered

securities to investors, in flagrant violation of federal and state securities laws. Plaintiffs are

investors who purchased unregistered securities on the Coinbase Exchanges and suffered losses as

a result. Plaintiffs are entitled to recover those losses, including the trading fees they incurred.

       First, Section 12(a)(1) of the Securities Act of 1933 (“Securities Act”) imposes strict

liability on an entity that sells or solicits the sale of an unregistered security. Coinbase did both.

As elaborated in the Amended Complaint, users who trade on Coinbase are in direct privity with

Coinbase, and each sale of a digital security occurs between Coinbase and the user, making

Coinbase the direct seller of each security. In addition, Coinbase has solicited each security for

sale by providing a description of the security, making available real-time pricing information, and

describing each security’s value proposition, all in order to induce its purchase by investors.

Defendants have not disputed that the digital assets at issue are unregistered securities, that

Plaintiffs purchased them on Coinbase within a year prior to suit, and that Plaintiffs suffered losses

as a result. Plaintiffs have therefore pleaded cognizable violations of Section 12(a)(1).

       Second, Section 29(b) of the Securities Exchange Act of 1934 (“Exchange Act”) authorizes

a court to void contracts that violate the Exchange Act. The purchases and sales at issue in this

action constitute individual contracts that are voidable because they are entirely premised on the

illegal purchase or sale of an unregistered security by an unregistered broker/dealer on an
         Case 1:21-cv-08353-PAE Document 62 Filed 07/11/22 Page 8 of 37




unregistered exchange, in violation of Sections 5 and 15 of the Exchange Act. Because the

contracts at issue are facially unlawful (since each is entirely predicated on violations of federal

and state law), they are voidable at Plaintiffs’ election under Section 29(b). In addition, each claim

under Section 29(b) arises from purchases within one year of suit, making the claims timely.

       Third, Plaintiffs easily meet Rule 8(a)’s notice pleading standard. Coinbase, Inc. is a wholly

owned subsidiary of Coinbase Global, and the two—as Defendants concede—operate as a single

company and common enterprise, all under Defendant Armstrong’s singular control. It is proper

for Plaintiffs to refer to Coinbase, Inc. and Coinbase Global collectively as “Coinbase” where

Plaintiffs’ allegations apply to both defendant entities.

       Fourth, Plaintiffs have adequately pleaded control person claims against Armstrong and

Coinbase Global. Armstrong is clearly alleged to control both Coinbase, Inc. and Coinbase Global,

and Defendants do not dispute that he controls both companies. Likewise, Coinbase Global is

clearly alleged to control Coinbase, Inc.—its wholly owned subsidiary. Contrary to Defendants’

claim, Plaintiffs are permitted to plead control person claims against Coinbase Global as an

alternative to Plaintiffs’ primary theory of liability against Coinbase Global.

       Finally, Plaintiffs’ state law claims are properly pleaded for the above reasons, and because

the state statutes at issue are either co-extensive with or broader than their federal analogues.

                                         BACKGROUND

       The 79 crypto-assets at issue (the “Tokens”) are digital assets that use cryptographic

principles to secure transactions. AC ¶ 19. Each crypto-asset is based around a blockchain, which

serves as a public ledger of every transaction in a given crypto-asset. Id. ¶¶ 21, 23. Unlike trades

on traditional stock exchanges, these crypto-assets can be transferred directly from one person or

entity to another on a blockchain, and such transfers are publicly recorded. Id. ¶¶ 26–27.



                                                  2
         Case 1:21-cv-08353-PAE Document 62 Filed 07/11/22 Page 9 of 37




       Crypto-assets can trade on either centralized or decentralized exchanges. Id. ¶ 29. On a

centralized exchange, such as Coinbase, assets are first transferred to the exchange by a user. Id. ¶

32. For example, if Angela intends to trade Bitcoin for Dogecoin (which is one of the 79 Tokens)

on Coinbase, she would first transfer Bitcoin on the blockchain to Coinbase. This results in a

movement of assets on the blockchain indicating that the Bitcoin that was formerly held in

Angela’s cryptographic “wallet” is now held in a wallet owned by Coinbase. Id. ¶¶ 23–27, 32–34.

The Coinbase wallet that now holds what was formerly Angela’s Bitcoin also holds and comingles

Bitcoin that Coinbase’s other users have likewise transferred to Coinbase. Id. ¶¶ 32–34.

       Once Angela decides to trade the Bitcoin she previously transferred to Coinbase for a new

crypto-asset (here, Dogecoin), that transaction would occur only between Coinbase and Angela.

Id. ¶ 33. Coinbase would make a notation in Angela’s account balance noting that a certain amount

of Dogecoin should be attributed to her account instead of a certain amount of Bitcoin. Id. At no

point would Angela ever interact with a user holding Dogecoin. Id. Instead, each step of Angela’s

transaction, as confirmed by the public blockchain record, would occur only between Angela and

Coinbase. Id. That is because Coinbase users are not in privity with each other, and face Coinbase

directly on every transaction. Id.

       The assets traded by Coinbase include a number of digital assets that are securities. Unlike

commodities such as Bitcoin, which are generated at a fixed rate through a decentralized process

known as “mining,” the 79 Tokens are created at the discretion of each Token’s issuer. Id. ¶ 51.

These Tokens are often distributed in an Initial Coin Offering, or “ICO,” and derive value from a

use case that is created by the issuer’s promise to create an “ecosystem” in which those Tokens

have value. Id. ¶¶ 52–54. The Tokens are investment contracts and securities because they

represent the investment of money in a common enterprise with a reasonable expectation of profits



                                                 3
        Case 1:21-cv-08353-PAE Document 62 Filed 07/11/22 Page 10 of 37




to be derived from the efforts of others—specifically, the issuer’s efforts to build and maintain the

promised ecosystem. Id. None of the Tokens is registered with the U.S. Securities and Exchange

Commission (“SEC”) as a security. Id. ¶ 4. For purposes of its Motion, Coinbase does not dispute

that each Token is an unregistered security. See MTD 13.

       Plaintiffs Underwood and Oberlander were among the plaintiffs who brought the initial

Complaint in this matter on October 8, 2021, along with Zeneyda Patin. ECF No. 1. Plaintiff

Rodriguez joined Plaintiffs Underwood and Oberlander in moving to be appointed as lead

plaintiffs on December 13, 2021. ECF No. 15. (Initial plaintiff Patin did not move to be a lead

plaintiff.) The Court granted Plaintiffs Oberlander, Rodriguez, and Underwood’s lead plaintiff

motion on January 11, 2022. ECF No. 21. On January 28, 2022, Plaintiffs moved for a temporary

restraining order and preliminary injunction to prevent Coinbase from requiring its users to consent

to a new user agreement that included provisions that could have adversely affected this litigation.

ECF No. 25. Following a hearing on Plaintiffs’ motion for injunctive relief, the parties stipulated

that the new user agreement Defendants had proposed would not apply to this action. ECF No. 39.

       On March 11, 2022, Plaintiffs filed the Amended Complaint. ECF No. 43. In their

Amended Complaint, Plaintiffs brought three sets of claims against Coinbase: (i) Section 12(a)(1)

claims under the Securities Act for damages arising from Coinbase’s sale or solicitation of

unregistered securities (AC ¶¶ 931–41); (ii) Section 29(b) claims under the Exchange Act arising

from illegal contracts Coinbase entered into with its users to purchase and sell securities in

violation of the Exchange Act’s registration requirements (id. ¶¶ 956–88); and (iii) state law claims

arising from Coinbase’s sale of unregistered securities and failure to register as a broker/dealer (id.

¶¶ 1016–1106). Plaintiffs also bring control person claims against Coinbase Global and its CEO




                                                  4
        Case 1:21-cv-08353-PAE Document 62 Filed 07/11/22 Page 11 of 37




Armstrong, who orchestrated Coinbase’s strategy to profit by violating the securities laws. Id.

¶¶ 942–55, 1002–15, 1038–49, 1094–1106.

                                       LEGAL STANDARD

       Coinbase seeks dismissal under Federal Rules of Civil Procedure 8(a) and 12(b)(6). Rule

8(a) requires “a short and plain statement of the claim showing that the pleader is entitled to relief.”

Fed. R. Civ. P. 8(a)(2). This rule “embodies a policy of ‘notice pleading’ that eschews the need to

plead specific types of documentary evidence to establish a plausible claim.” Corley v. United

States, 11 F.4th 79, 89 (2d Cir. 2021).

       On a motion to dismiss under Rule 12(b)(6), the Court must “accept all well-pleaded factual

allegations in the complaint as true” and “determine whether they plausibly give rise to an

entitlement to relief.” Lynch v. City of N.Y., 952 F.3d 67, 74–75 (2d Cir. 2020) (internal quotation

marks omitted). “[T]he court’s task is to assess the legal feasibility of the complaint; it is not to

assess the weight of the evidence that might be offered on either side[.]” Id. at 75.

                                            ARGUMENT

I.     Plaintiffs Plausibly Allege That Coinbase Sold And Solicited The Sale Of
       Unregistered Securities In Violation Of Section 12(a)(1) Of The Securities Act

       A.      Coinbase Is The Seller In Each Transaction

       Defendants improperly dedicate large swaths of their Motion to Dismiss to disputing

Plaintiffs’ well-pleaded factual allegation in the Amended Complaint (see, e.g., AC ¶¶ 28–34) that

Coinbase is the direct seller to Plaintiffs of the Tokens they purchased. MTD 2–3, 6–7, 8–10. But

as the Amended Complaint details, Coinbase—by virtue of its organization as a centralized

exchange, its use of the blockchain to effect transactions, and its decision to hold customer assets

in centralized (rather than segregated) accounts—is the direct seller of the Tokens to Plaintiffs.

Rather than acknowledge that these allegations must be accepted as true on a motion to dismiss,


                                                   5
        Case 1:21-cv-08353-PAE Document 62 Filed 07/11/22 Page 12 of 37




see Lynch, 952 F.3d at 74–75, Coinbase inappropriately urges the Court to consider material

outside the pleadings. Such evidence is both inadmissible at this stage, and in any event, does not

support Coinbase’s contention.

               1.      Plaintiffs Have Properly Alleged That Coinbase Is The Direct Seller
                       Of The Tokens

       Coinbase sold each Token in every transaction to each Plaintiff. The Amended Complaint

contains detailed factual support for this assertion. While Coinbase may dispute these facts,

consideration of its arguments is inappropriate at the pleading stage, where Plaintiffs’ non-

conclusory allegations must be credited. Lynch, 952 F.3d at 74–75.

       As the Amended Complaint sets forth in detail, the technical structure of a centralized

crypto-asset exchange such as Coinbase means that it is the only party with whom customers like

Plaintiffs ever transact. The only blockchain address with which a customer ever interacts is the

wallet deposit address provided by Coinbase itself and that Coinbase owns. AC ¶ 32. The

transactions made on the Coinbase Exchanges are not reflected anywhere on the blockchain

because they are with Coinbase itself. Id. ¶ 33. No Token ever flows from one Coinbase user to

another. Id. If Angela deposits Bitcoin in her Coinbase account, exchanges that Bitcoin for a Token

sold on Coinbase, and then withdraws the Token from Coinbase’s wallet, the blockchain will show

two parties: Angela and Coinbase. Id. The fact that Coinbase may have set the listing price for that

Token based on a different transaction made by another user is irrelevant to Angela—Angela never

interacts with that other user, sends no asset to the other user, receives no asset from the other user,

and has no blockchain-recorded interaction with the other user. Angela’s only counterparty on the

blockchain, and the only entity with which Angela could possibly be in privity, is Coinbase. Id.

       This is not, as Defendants suggest, inherent in all exchanges, or even in all crypto-

exchanges. A transaction on the New York Stock Exchange (“NYSE”), for example, moves


                                                   6
        Case 1:21-cv-08353-PAE Document 62 Filed 07/11/22 Page 13 of 37




interests in a security from one individual to another, without the NYSE ever holding any assets

itself. Coinbase, on the other hand, does hold the assets that transact on it.1 And, as Plaintiffs

expressly allege, there do exist decentralized crypto-exchanges that operate similarly to the NYSE,

serving as a place where customers pass title to each other, rather than to the exchange itself. AC

¶¶ 30–31. If Angela sells a Bitcoin for a Token on one of these other decentralized crypto-

exchanges, there will be a counterparty on the other end of that transaction. The transaction

between the two users will be visible on the blockchain itself. Coinbase could have chosen to

operate as a decentralized exchange, but it did not. Instead, it chose to operate and substantially

profit as a centralized exchange, in direct privity with each of its users on each purchase or sale of

a Token. Id. ¶¶ 32–33.

       Indeed, while Plaintiffs’ allegations in the Amended Complaint are all that the Court need

or should consider for purposes of this motion to dismiss, Coinbase’s most recent SEC Form 10–

Q, which was signed by Defendant Armstrong on May 10, 2022 (after the Amended Complaint

was filed), confirms this point. Goldstein Decl. Ex. A. In that federal securities filing, Coinbase

confirms that it is the holder of crypto-assets traded on its platform, rather than Plaintiffs. For

example, Coinbase states that assets Plaintiffs trade with Coinbase “may be considered to be the

property of [Coinbase’s] bankruptcy estate, in the event of [Coinbase’s] bankruptcy.” Id. at 83.

Coinbase makes a similar concession on its website: “When a Coinbase user sends cryptocurrency

from their wallet, the address it comes ‘from’ is one of Coinbase’s many hot wallet addresses.




1
  This is one reason why Defendants’ reliance on Independent Investor Protective League v. N.Y.
Stock Exchange, 367 F. Supp. 1376, 1377 (S.D.N.Y. 1973), is misplaced, along with the fact that
the claims in that case (which preceded and therefore did not rely on Pinter v. Dahl, 486 U.S. 622
(1988)) were dismissed based on lack of scienter, rather than lack of privity.
                                                  7
        Case 1:21-cv-08353-PAE Document 62 Filed 07/11/22 Page 14 of 37




Any crypto sent back to that address would be sent to Coinbase, not your own wallet.” Goldstein

Decl. Ex. B, at 1 (emphasis added).2

               2.      Coinbase’s Holding Of Customer Assets In Shared Accounts Means It
                       Is The Direct Seller

       Courts have long recognized that where, as here, an entity holds customers’ financial assets

in shared rather than segregated accounts, the receiving entity has title over the assets in question.

When customers deposit funds or financial instruments with an institution, the customers retain

title “only where the funds are both specifically identifiable and segregated”—otherwise, the entity

holding the assets possesses title. See, e.g., In re Refco Sec. Litig., 759 F. Supp. 2d 301, 330

(S.D.N.Y. 2010) (“Absent a sufficient allegation that the FX Customers’ funds were kept in

segregated accounts, it must be assumed that the FX Customers relinquished title to the assets

when they deposited them with RCM.”).

       Here, Plaintiffs’ allegations and Coinbase’s admissions align on this crucial point:

Coinbase holds its customers’ crypto-assets in combined accounts, rather than in segregated or

specifically identifiable accounts, and therefore Coinbase (and not its customers) holds title over

those assets. Plaintiffs expressly allege that the Coinbase Exchanges “place all deposited assets

into a centralized wallet.” AC ¶ 34. And the User Agreement Defendants inappropriately seek to

introduce concedes that Coinbase uses “shared blockchain addresses, controlled by Coinbase, to

hold Digital Currencies held on behalf of customers” and has “no obligation to segregate by

blockchain address Digital Currencies owned by you from Digital Currencies owned by other

customers or by Coinbase.” ECF No. 60–2 at 3; see also Goldstein Decl. Ex. A, at 83 (Coinbase




2
 Plaintiffs cite Coinbase’s description of its platform merely to demonstrate that Defendants’
made-for-litigation position that it is not the seller is unsupported even by its own admissions. For
purposes of deciding the Motion, the Court should rely solely on the Amended Complaint.
                                                  8
        Case 1:21-cv-08353-PAE Document 62 Filed 07/11/22 Page 15 of 37




admitting that assets deposited by customers are “custodially held”). Because Coinbase had title

to the assets the customers purchased, it was necessarily the “seller” under Section 12(a)(1), as “it

is settled that § 12(1) imposes liability on the owner who passed title, or other interest in the

security, to the buyer for value.” Pinter, 486 U.S. at 642 (citing predecessor to Section 12(a)(1)).

               3.      Coinbase’s Attempts To Evade Plaintiffs’ Allegations Fail

       Coinbase, unwilling to accept the pled allegations, as is required for this Motion to Dismiss,

argues that the Court should look to a variety of sources outside the Amended Complaint. But none

of Coinbase’s arguments disrupts the points discussed above: that Plaintiffs have alleged privity,

and that the centralized manner in which Coinbase holds customer assets, and its failure to

segregate holdings on the blockchain by customer, confirms that Coinbase is the direct seller here

because it transferred title to the Tokens.

       Notably, Coinbase never explains who besides it would be in privity with a customer during

an individual transaction. It is hard to see who else could qualify. It cannot be any other Coinbase

user, as users never exchange assets with each other and have no way of identifying each other.

Coinbase seems to suggest that its users are in privity with no one when they transact on Coinbase.

But there must have been some privity between a customer and someone else, or else no transfer

of assets could occur. Regardless, while Defendants appear to disagree with Plaintiffs’ factual

allegations, they cannot base their Motion on such a factual dispute.

       Instead, Coinbase spuriously asserts that the allegations of the Amended Complaint—

which carefully details Coinbase’s operations and why it is in privity with its customers on every

Token trade—should be disregarded because they purportedly conflict with other allegations.

MTD 10. Coinbase’s tortured readings cannot create conflict where none exists. There is no

conflict between Coinbase’s matching buy and sell orders and its role as a direct seller; rather, as

Plaintiffs specifically allege, Coinbase sets prices and is the seller. AC ¶ 33 (“[W]hile Coinbase
                                                 9
        Case 1:21-cv-08353-PAE Document 62 Filed 07/11/22 Page 16 of 37




may use other traders’ orders to determine the relative prices of crypto-assets and the rate at which

they are exchanged, the only actual transactions that occur are between (a) the buyer and Coinbase

and (b) the seller and Coinbase.”) Nor is there anything contradictory about this claim and the

allegation that Coinbase “earn[s] fees from user transactions in [digital] assets”—there is nothing

contradictory about a seller charging fees for transactions. Id. ¶ 62. Similarly, Plaintiffs’

allegations that they traded “on the Coinbase Exchanges,” e.g., id. ¶ 83, do not imply that they

were not in privity with Coinbase on those exchanges—there is nothing contradictory about

Coinbase engaging in sales on its own exchanges. Similarly, when Plaintiffs allege that Coinbase

allows “users to agree upon the terms of their trades in Tokens,” Plaintiffs do not imply that users

are on both sides of these trades; the phrase “their trades” clearly refers to trades between the users

and Coinbase. Id. ¶ 912 (emphasis added).

       Defendants also fail in their attempt to gin up further supposed conflicts by referencing the

prior, superseded complaint in this action. There is no conflict between the Amended Complaint

and the initial Complaint. The initial Complaint never asserted that Coinbase was not in privity

with its users, nor did it allege contrary facts regarding the technical operation of Coinbase. Rather,

the Amended Complaint expanded upon the initial Complaint and provided more detailed

allegations on these positions, which is precisely the point of an amended pleading.

       Even if the Amended Complaint did contradict the initial Complaint (it does not),

Defendants’ attempt to use the initial Complaint against Plaintiffs would be meritless. As

Defendants conspicuously omit, the prior complaint was filed by a different set of Plaintiffs.

Specifically, lead plaintiff Henry Rodriguez had no involvement in that complaint and cannot




                                                  10
        Case 1:21-cv-08353-PAE Document 62 Filed 07/11/22 Page 17 of 37




possibly be bound by it.3 Defendants’ approach of binding lead plaintiffs appointed pursuant to

the Private Securities Litigation Reform Act (“PSLRA”) to earlier complaints filed (as here) by

different plaintiffs would lead to a race to the courthouse—the antithesis of the PSLRA’s purpose.

See Hom v. Vale, S.A., 2016 WL 880201, at *5 (S.D.N.Y. Mar. 7, 2016) (“In enacting the PSLRA,

Congress sought to curb abuses such as ‘the race to the courthouse to be the first to file the

complaint.’” (quoting S. REP. 104–98, at 10 (1995), as reprinted in 1995 U.S.C.C.A.N. 679, 689)).

Courts in securities litigation therefore decline to bind plaintiffs to earlier complaints, even those

filed by the same plaintiffs. See, e.g., In re PXRE Grp., Ltd., Sec. Litig., 600 F. Supp. 2d 510, 525

(S.D.N.Y. 2009), aff’d, 357 F. App’x 393 (2d Cir. 2009) (binding plaintiff to his previous

complaint “runs contrary to the Federal Rules’ pronouncements that leave to file amended

pleadings shall be freely given and that a party may state as many separate claims or defenses as

it has, regardless of consistency (cleaned up)); In re Parmalat Sec. Litig., 412 F. Supp. 2d 392, 400

(S.D.N.Y. 2006).4

       Out of other options, Defendants rely on Anderson v. Binance, in which Judge Carter

stated, in dicta, that the different plaintiffs before him had not adequately pleaded that crypto-

exchange Binance was an actual seller. 2022 WL 976824, at *3 n.2 (S.D.N.Y. Mar. 31, 2022). But

the allegations that Judge Carter found insufficient in Binance are entirely different from, and less

detailed than, those here. Id. at *3 n.2; compare AC ¶¶ 32–34, with 1:20-cv-2803, ECF No. 55 ¶

58. At no point did Judge Carter suggest as a matter of law that Binance, or any other crypto-



3
   “Basic principles of due process prevent individual named plaintiffs from binding—through
litigation or court-approved settlement—absent class members the plaintiffs do not legally
represent.” Jamie S. v. Milwaukee Pub. Schools, 668 F.3d 481, 502 (7th Cir. 2012) (citing Ortiz v.
Fibreboard Corp., 527 U.S. 815, 846 (1999)).
4
 Notably, none of the authorities cited by Defendants on this point (MTD 6 n.8) involves class
actions, let alone class actions governed by the PSLRA.
                                                 11
        Case 1:21-cv-08353-PAE Document 62 Filed 07/11/22 Page 18 of 37




exchange, could not be a seller of securities. Nor did Judge Carter make any factual finding that

Binance was not a seller (nor could Judge Carter have made such a finding, given his ruling was

on a motion to dismiss). Unlike in Binance, Plaintiffs here have made detailed factual allegations

on the precise issue of whether Coinbase was the direct seller of the Tokens, AC ¶¶ 28–34, which

this Court must accept for purposes of the Motion. For the above reasons, Plaintiffs have

adequately pleaded that Coinbase sold them the Tokens.

       B.      Coinbase’s User Agreements Cannot Defeat Plaintiffs’ Well-Pleaded
               Allegations Regarding Coinbase’s Role As A Seller

       Defendants next argue that language in the Coinbase User Agreement denying that

Coinbase sells digital assets—language that Coinbase added unilaterally after each Plaintiff signed

up—somehow precludes Plaintiffs’ allegations that Coinbase acts as a seller. On its face, this

argument has alarming implications; using similar logic, a restaurant could shield itself from past

and future tort liability by instituting a new requirement for guests to sign a statement that it “does

not serve poisonous food.” Nor is this the first time Coinbase has inappropriately sought to

weaponize its terms of use against its customers. As the Court is aware, Coinbase recently tried to

amend its User Agreement to impede this litigation, only to back away after Plaintiffs

demonstrated that Coinbase’s action was legally indefensible. ECF Nos. 24, 48. Coinbase’s latest

gambit, too, is meritless for several independent reasons.

       First, reliance on any version of the Coinbase User Agreement is improper at the pleading

stage. The Court may consider materials outside the pleadings only if they are “incorporated by

reference” into the Amended Complaint or “integral to” Plaintiffs’ allegations. United States ex

rel. Foreman v. AECOM, 19 F.4th 85, 106–09 (2d Cir. 2021). However, as Coinbase concedes,

Plaintiffs’ claims do not arise from the User Agreement. See MTD 7 (“Plaintiffs go to great lengths

in the AC to avoid any reference to the User Agreement.”). Although Coinbase argues that the


                                                  12
        Case 1:21-cv-08353-PAE Document 62 Filed 07/11/22 Page 19 of 37




User Agreement is “the only operative agreement between Plaintiffs and any of the Defendants,”

MTD 7, it does not cite any authority for the proposition that Plaintiffs need to show a presently

“operative agreement” between them and Coinbase to prevail on their Securities Act claims.

Similarly, Coinbase’s assertion that the User Agreement is “the only agreement Plaintiffs could

ultimately seek to rescind under Section 29(b) of the Exchange Act,” id. (emphasis added), is both

incorrect, see infra Part II.B, and plainly irrelevant to Plaintiffs’ Securities Act claims, which are

not premised on voiding a contract. Because Plaintiffs have not incorporated or relied upon the

User Agreement in the Amended Complaint, Coinbase may not rely on it for its Motion.

       Second, two of the three Plaintiffs (Oberlander and Underwood) never agreed to any of the

contractual language Defendants seek to weaponize against them. As Defendants acknowledge,

MTD 5, Plaintiffs Oberlander and Underwood signed up for Coinbase in December 2017. But

Coinbase did not add the provision it cites—that “[w]hen you purchase (buy) or sell Digital

Currency on the Coinbase Site, you are not buying Digital Currency from Coinbase or selling

Digital Currency to Coinbase,” ECF No. 60–2 (Dec. 2020 User Agreement) § 3.2—or any

language to that effect, until approximately September 23, 2020 (nearly three years later).

Compare ECF Nos. 35–26 & 35–27. Similarly, the statement that “[t]itle to Digital Currency shall

at all times remain with you and shall not transfer to Coinbase,” ECF No. 60–2 § 2.6.1, did not

appear until approximately January 31, 2019. Compare ECF Nos. 35–12 & 35–13. In each case,

the cited language post-dates Oberlander and Underwood joining the platform.

       Coinbase’s belated addition of this language to its terms of service has no effect on the

rights of preexisting customers. Under California law, which governs all versions of the User

Agreement, Coinbase’s unilateral attempts to “update” its contracts fail on both procedural and

substantive grounds. Procedurally, a party to an adhesive consumer contract cannot unilaterally



                                                 13
        Case 1:21-cv-08353-PAE Document 62 Filed 07/11/22 Page 20 of 37




“update” the contract without notice to the consumer, even if the contract purports to reserve the

right to do so. See Rodman v. Safeway, Inc., 694 F. App’x 612, 613 (9th Cir. 2017) (“The district

court correctly determined that the modification clause” purporting to allow Safeway to update its

terms unilaterally “did not allow Safeway to unilaterally amend the Special Terms without

notice.”); Roling v. E*Trade Secs., LLC, 756 F. Supp. 2d 1179, 1190–91 (N.D. Cal. 2010) (Under

California and New York law, “a contractual provision that allows a party to unilaterally change

the terms of the contract without notice is unenforceable.”). Defendants cite no evidence (and

Plaintiffs are aware of none) that they provided any notice to existing users of the updates

containing the language they now invoke.

       Even if Coinbase had provided notice, these unilateral updates to contracts with existing

users would be invalid. A party that reserves the unilateral right to change a contract must exercise

that right in an “objectively reasonable” manner, which means it may not “attempt[] to ‘recapture’

a forgone opportunity by adding an entirely new term which has no bearing on any subject, issue,

right, or obligation addressed in the original contract and which was not within the reasonable

contemplation of the parties when the contract was entered into.” Badie v. Bank of Am., 67 Cal.

App. 4th 779, 796 (1998) (declining to enforce arbitration clause unilaterally added to terms of

use) (citation omitted). Coinbase’s attempt to turn itself into a non-seller by pure ipse dixit would

be a change “not within the reasonable contemplation of the parties when the contract was entered

into,” id., and therefore not a condition Coinbase could unilaterally impose on its users. Indeed, it

is hard to think of a more abusive unilateral change than one that adds inaccurate “facts” to a User

Agreement so that a corporation can rely on those purported facts in litigation with those users.

       Third, the December 2019 version of the User Agreement, which was offered to Plaintiff

Rodriguez when he signed up for Coinbase in March 2020, explicitly stated that a sale of digital



                                                 14
        Case 1:21-cv-08353-PAE Document 62 Filed 07/11/22 Page 21 of 37




assets on Coinbase is a purchase from Coinbase: “When you purchase (buy) Digital Currency from

Coinbase (or from a third-party using Coinbase Pro) this transaction is intended to effect a sale of

Digital Currency.” December 2019 User Agreement § 3.2 (ECF No. 35–24) (emphases added).

The December 2019 User Agreement, even if it were admissible at this stage, thus provides strong

support for Plaintiffs’ allegations that Coinbase is the direct seller of the Tokens.

       Finally, even if Plaintiffs had agreed to each contractual provision Coinbase cites (and they

have not), federal law prohibits these provisions from operating as a waiver of Plaintiffs’ right to

allege the factual predicate of their Securities Act claim—i.e., that Coinbase sold them securities.

The Securities Act expressly provides that “[a]ny condition, stipulation, or provision binding any

person acquiring any security to waive compliance with any provision of this subchapter or of the

rules and regulations of the [SEC] shall be void.” 15 U.S.C. § 77n (emphasis added); see also 15

U.S.C. § 78cc(a) (same limitation under the Exchange Act); McMahan & Co. v. Wherehouse Ent.,

Inc., 65 F.3d 1044, 1051 (2d Cir. 1995) (“The statutory framework of the 1933 and 1934 Acts

compels the conclusion that individual securityholders may not be forced to forego their rights

under the federal securities laws due to a contract provision.”).

       These anti-waiver provisions of federal law invalidate not only express waivers of statutory

rights, but also contracts that would have the effect of prospectively insulating conduct from

challenge under the securities laws. For example, in McMahan, the Second Circuit held that under

the anti-waiver provisions of the Securities Act and the Exchange Act, a contractual provision

purporting to establish “a procedure that must be followed before an action may be brought” could

not be enforced to bar investors’ federal securities claims. 65 F.3d at 1050–51. Despite lacking an

express waiver, the pre-suit procedure provision could “operate to bar a minority plaintiff class

from exercising its substantive rights under federal securities law” because it required the plaintiffs



                                                  15
        Case 1:21-cv-08353-PAE Document 62 Filed 07/11/22 Page 22 of 37




to win a vote among investors and to “indemnify the Trustee,” which they might be unable to do.

Id. at 1051; accord Seafarers Pension Plan ex rel. Boeing Co. v. Bradway, 23 F.4th 714, 720, 727

(7th Cir. 2022) (declining to enforce “forum-selection clause that had the effect of waiving federal

securities rights” by forcing plaintiffs to litigate in a court that would lack jurisdiction); Rogen v.

Ilikon Corp., 361 F.2d 260, 268 (1st Cir. 1966) (“[W]e see no fundamental difference between

saying, for example, ‘I waive any rights I might have because of your representations or obligations

to make full disclosure’ and ‘I am not relying on your representations or obligations to make full

disclosure,’” as enforcing either contractual stipulation would “go[] far toward eviscerating

Section 29(a)” of the Exchange Act.). Coinbase’s argument—that it is free to add a contractual

provision to its User Agreement that it is not a seller—would potentially waive users’ right to sue

Coinbase for selling unregistered securities. That is the precise result Congress foreclosed through

the securities laws’ anti-waiver clauses. For all the above reasons, Defendants cannot deploy the

User Agreement to avoid answering the Amended Complaint.

       C.      Coinbase Admits That Plaintiffs’ Securities Act Claims Are Properly
               Pleaded in All Other Respects

       There is no dispute that Plaintiffs also sufficiently allege the remaining elements of their

Section 12 claims. Plaintiffs properly plead that all the Tokens are securities. AC ¶¶ 42–908.

Defendants correctly recognize that this is a factual matter that cannot be resolved on a motion to

dismiss, and they do not seek dismissal on that basis. MTD 13. Nor is there any dispute that the

Tokens were not registered as securities. AC ¶ 4. Defendants also do not dispute that Plaintiffs

have adequately alleged damages suffered by themselves and the Class, both through trading fees

and through market losses. See, e.g., id. ¶¶ 85, 90, 95, 109, 130. Nor do Defendants dispute that

Plaintiffs’ Section 12(a)(1) claims are timely, and they have therefore waived any arguments to

the contrary. See Talon Pro. Servs., LLC v. CenterLight Health Sys. Inc., 2021 WL 1199430, at


                                                  16
        Case 1:21-cv-08353-PAE Document 62 Filed 07/11/22 Page 23 of 37




*10 n.6 (S.D.N.Y. Mar. 30, 2021) (Engelmayer, J.). Plaintiffs have therefore pleaded cognizable

claims under the Securities Act.

       D.      Plaintiffs Properly Allege Coinbase Solicited Sales Of The Tokens

       As a second and independent basis for liability under Section 12(a)(1), Plaintiffs properly

allege that Coinbase “successfully solicit[ed] the purchase [of the Tokens], motivated at least in

part by a desire to serve [its] own financial interests or those of the securities owner.” Pinter, 486

U.S. at 647. For example, users of Coinbase’s website who purchase Tokens first receive

descriptions of each Token, the value proposition offered by each Token, and updates on price

movements, all of which induce users to trade with Coinbase. AC ¶ 911. “These solicitations profit

Coinbase by increasing the number of transactions on the Coinbase Exchanges and thus the fees

paid to Coinbase; these solicitations are thus motivated at least in part by a desire to serve their

own financial interests.” Id. Plaintiffs have therefore properly alleged Section 12(a)(1) liability

based upon Coinbase’s successful solicitations of Plaintiffs’ purchases of the Tokens.

II.    Plaintiffs Adequately Plead Claims Under The Exchange Act

       Plaintiffs bring claims under Section 29(b) of the Exchange Act to rescind contracts with

Coinbase that violate the Exchange Act’s registration requirements for securities exchanges,

brokers, and dealers. AC ¶¶ 956–1001. These claims are properly pled.

       A.      Section 29(b) Of The Exchange Act Provides A Private Cause Of Action To
               Rescind Contracts That Violate The Act’s Registration Requirements For
               Securities Exchanges And Broker/Dealers

       Defendants do not dispute that Section 29(b) provides a private cause of action, nor could

they. See Transamerica Mortg. Advisors, Inc. v. Lewis, 444 U.S. 11, 18–19 (1979) (noting that

Section 29(b) “confers a ‘right to rescind’ a contract void under the criteria of the statute,” and “[a]

person with the power to void a contract ordinarily may resort to a court to have the contract

rescinded and to obtain restitution of consideration paid”). Indeed, the very cases Coinbase cites

                                                  17
        Case 1:21-cv-08353-PAE Document 62 Filed 07/11/22 Page 24 of 37




demonstrate that Section 29(b) provides a private right of action. See, e.g., Scottrade, Inc. v. BroCo

Invs., Inc., 774 F. Supp. 2d 573, 583 (S.D.N.Y. 2011); Pompano-Windy City Partners, Ltd. v. Bear

Stearns & Co., Inc., 794 F. Supp. 1265, 1288 (S.D.N.Y. 1992); Slomiak v. Bear Stearns & Co.,

597 F. Supp. 676, 682 (S.D.N.Y. 1984).

       A violation of Section 15(a)(1) of the Exchange Act (which requires a broker/dealer who

sells securities to register with the SEC) can form the predicate for a rescission action under Section

29(b). Every appellate court to reach this question has agreed. See EdgePoint Cap. Holdings, LLC

v. Apothecare Pharm., LLC, 6 F.4th 50, 59 (1st Cir. 2021) (contract was “voidable under Section

29(b)” because it “involved a practice in violation of the Exchange Act, specifically inducing, or

attempting to induce the purchase or sale of any security as an unregistered broker” (cleaned up));

Regional Props., Inc. v. Fin. & Real Est. Consulting Co., 752 F.2d 178, 182 (5th Cir. 1985);

Western Fed. Corp. v. Erickson, 739 F.2d 1439, 1443 n.5 (9th Cir. 1984).5 Numerous District

Courts in the Second Circuit have held likewise. See, e.g., NovaFund Advisors, LLC v. Capitala

Group, LLC, 2020 WL 230089, at *13 (D. Conn. Jan. 14, 2020) (counterclaimant “adequately

allege[d] a Section 29(b) claim for rescission” based on failure to register as a broker under Section

15); Couldock & Bohan, Inc. v. Société Generale Sec. Corp., 93 F. Supp. 2d 220, 231–32 (D.

Conn. 2000) (contract that was “inextricably intertwined with” violation of registration

requirement for broker/dealers was “void and unenforceable” under Section 29(b)).6




5
 The Second Circuit has acknowledged this line of authority but has not reached the question.
Boguslavsky v. Kaplan, 159 F.3d 715, 722 n.6 (2d Cir. 1998).
6
 Numerous district courts in other circuits are likewise in accord. See, e.g., Cornhusker Energy
Lexington LLC v. Prospect St. Ventures, 2006 WL 2620985, at *7 (D. Neb. Sept. 12, 2006);
Landegger v. Cohen, 5 F. Supp. 3d 1278, 1284–89 (D. Colo. 2013).
                                                  18
        Case 1:21-cv-08353-PAE Document 62 Filed 07/11/22 Page 25 of 37




       The sole case Defendants cite that declined to recognize a cause of action under Section

29(b) predicated on a violation of Section 15(a)(1) is EMA Financial, LLC v. Vystar Corp., Inc,

2021 WL 1177801 (S.D.N.Y. Mar. 29, 2021). Defendants’ reliance on that case is misplaced. In

EMA, Judge Carter dismissed a Section 29(b) claim predicated on a failure to register as a

broker/dealer, primarily because the contracts sought to be rescinded were not themselves illegal.

The court then stated, in dicta, that “Rule 15(a)(1) … provides no private right of action.” Id. at

*3. On a motion for reconsideration, the court articulated no substantive reasoning to support this

alternative basis. Instead, the court merely found that it was not clearly erroneous because there

was no “controlling authority in this Circuit” on whether a Section 15(a)(1) violation could be a

Section 29(b) predicate. EMA Fin., LLC v. Vystar Corp., Inc., 2021 WL 5998411, at *3 (S.D.N.Y.

Dec. 20, 2021).7 In the absence of “controlling authority,” id., this Court should follow the ample

and well-reasoned persuasive authority (including the unanimous authority of all circuit courts to

consider this issue) recognizing a private cause of action under Section 29(b) to rescind contracts

that violate the registration mandate for broker/dealers.

       Violations of the exchange registration requirements under Section 5 of the Exchange Act

are similarly remediable under Section 29(b). Section 29(b) allows rescission of a contract that

violates “any provision” of the Exchange Act. 15 U.S.C. § 78cc(b) (emphasis added). “Any” means



7
  Judge Carter also cited Goodman v. Shearson Lehman Bros., 698 F. Supp. 1078, 1083 (S.D.N.Y.
1988), which rejected a private cause of action under Section 15(a)(1) alone. Goodman said
nothing about whether Section 29(b) provides a private right of action, which courts have
recognized is a separate question. See Demaria v. Gisbex Clearing Corp., S.A., 2010 WL
11553316, at *5–6 (S.D. Fla. Nov. 23, 2010) (agreeing with Goodman that Section 15(a)(1) itself
provides no private cause of action, but then concluding that “Plaintiffs are correct that a party
may seek to rescind an agreement under Section 29(b) in light of broker’s registration violations
under Section 15(a)(1)”); Cohen v. Citibank, N.A., 954 F. Supp. 621, 626 n.3 (S.D.N.Y. 1996)
(Section 7 of the Exchange Act “may serve as the predicate for a private cause of action seeking
equitable relief pursuant to Section 29(b)” although there is no private cause of action “under
Section 7” itself).
                                                 19
        Case 1:21-cv-08353-PAE Document 62 Filed 07/11/22 Page 26 of 37




“any,” including Section 5. See Rhoades v. Powell, 644 F. Supp. 645, 663 (E.D. Cal. 1986) (“The

language of section 29(b) certainly does not” limit rescission to contracts that violate sections of

the Exchange Act that independently create private causes of action, “for it declares void any

contract made in violation of any provision of the 1934 Act.”), abrogated in part on other grounds

by Three Valleys Mun. Water Dist. v. E.F. Hutton & Co., Inc., 925 F.2d 1136 (9th Cir. 1991).

        B.      Plaintiffs Properly Allege That Coinbase Entered Contracts To Sell Them
                Securities In Violation Of The Exchange Act’s Registration Requirements

        To void a contract under Section 29(b), a plaintiff must “show that (1) the contract involved

a prohibited transaction, (2) he is in contractual privity with the defendant, and (3) he is in the class

of persons the [Exchange] Act was designed to protect.” Pompano-Windy City Partners, Ltd., 794

F. Supp. at 1288 (internal quotation marks omitted). Plaintiffs satisfy these requirements.

        Defendants do not dispute that Plaintiffs—retail investors in securities—are among the

“persons the [Exchange] Act was designed to protect.” Id. And Plaintiffs were in direct privity

with Coinbase when they purchased the Tokens. See supra Part I.A., The only remaining issue is

whether Plaintiffs and Coinbase entered contracts that “involved a prohibited transaction.” Id.

        Each of Plaintiffs’ transactions on Coinbase is a separate contract between the user and

Coinbase to effect a trade at a given price. Those purchase and sale contracts are distinct from the

User Agreement Defendants argue applies to Plaintiffs. Defendants’ attempt to avoid rescission of

the Token sales by conflating those separate contracts with the User Agreement thus fails.

        Caselaw (and common sense) confirms that each individual purchase or sale is a separate

contract. By way of analogy, it is well established that whenever a consumer buys a product in a

retail store, a contract is formed. See Garrett v. Tandy Corp., 295 F.3d 94, 100 & n.3 (1st Cir.

2002) (“[S]hopping in a retail store may involve multiple contracts. Each time a customer takes an

item off the shelf, a new contract looms[.]”); Giant Food, Inc. v. Washington Coca-Cola Bottling


                                                   20
        Case 1:21-cv-08353-PAE Document 62 Filed 07/11/22 Page 27 of 37




Co., Inc., 273 Md. 592, 606 (1975) (collecting cases for proposition “that in the context of a self-

service supermarket, a contract for sale may arise before payment is actually made for the goods”).

It does not matter whether the store is a Costco (which requires shoppers to enter a membership

contract before shopping there) or a Gristedes (which does not); either way, each in-store purchase

is a separate contract. The same hornbook law principle applies on Coinbase: each trade gives rise

to a new contract setting a price for the sale of the security at issue. See 23 Williston on Contracts

§ 62:22 (4th ed.) (“[T]he broker having acted in accordance with the customer’s instructions, a

binding contract is created ….”); cf. 15 U.S.C. § 78c(a)(13) (defining “buy” and “purchase” to

“include any contract to buy, purchase, or otherwise acquire”).

       The fact that Coinbase has also imposed a User Agreement that addresses both prohibited

and non-prohibited transactions has no bearing on whether each subsequent trade gives rise to a

new contract that may be voided if it violates the Exchange Act. Because each of these subsequent

contracts for the Tokens is illegal—since each compels an illegal trade in an unregistered security

on an unregistered exchange by an unregistered broker/dealer—each such contract is voidable

under Section 29(b). See Slomiak, 597 F. Supp. at 681–82 (recognizing that Section 29(b) applies

where violation of the Exchange Act is “inseparable from the performance of the contract plaintiff

[is] seeking to rescind”).

       Moreover, even if Coinbase could rely on the User Agreement on a motion to dismiss—

which it cannot, see supra Part I.B—it would be improper to conclude that Coinbase can shield its

illegal transactions from Section 29(b) simply by requiring customers to enter an overarching User

Agreement before Coinbase begins selling them securities. The cases Defendants cite are

inapposite because they concern situations where the sole contract between the plaintiff and

defendant was facially lawful and the plaintiff sought to rescind contracts with third parties. In



                                                 21
        Case 1:21-cv-08353-PAE Document 62 Filed 07/11/22 Page 28 of 37




Slomiak, for example, the plaintiff’s only contracts with defendant Bear Stearns were “customer

agreements establishing his margin and repurchase accounts,” which he did not allege “were

themselves unlawful.” 597 F. Supp. at 681. The plaintiff complained only that Bear Stearns had

failed to provide mandatory disclosures outside those contracts, and on that basis, he sought

rescission of government bond purchases made in his Bear Stearns margin account. Id. The court

denied rescission because—unlike here—there was no “contract between the parties” that

inherently violated the Exchange Act. Id. at 682 (emphasis added); see also Palmer v. Thomson &

McKinnon Auchincloss, Inc., 474 F. Supp. 286, 291–92 (D. Conn. 1979) (plaintiffs could not

rescind stock purchases from third parties executed on their behalf by defendant broker, who

violated margin regulation but operated under lawful customer agreement with plaintiffs). These

cases stand for the sensible rule that a defendant cannot be targeted for rescission when it has no

prohibited contractual relationship with the plaintiff. They do not condone a shell game in which

a violator enters prohibited contracts with impunity by framing them as mere “transactions” under

a lawful contract. Because each trade in the Tokens between Plaintiffs and Coinbase gave rise to

an illegal contract, each such contract is voidable at Plaintiffs’ election.

       C.      Plaintiffs’ Exchange Act Claims Are Timely

       Defendants assert that Section 29(b) provides a one-year statute of limitation from the

discovery of a violation. MTD 21. Even assuming that is correct,8 Plaintiffs’ Section 29(b) claims

are timely because they were brought within one year of their Token purchases, and within the

corresponding three-year statute of repose. Defendants’ contrary argument rests on the



8
  Defendants’ argument for a one-year statute of limitations lacks a textual basis. Section 29(b)
expressly provides a one-year limitations period and a three-year repose period only for actions
based on fraud violations under Section 15(c)(1) and 15(c)(2) of the Exchange Act, which are not
at issue in this case. 15 U.S.C. § 78cc(b)(B). Even if Defendants were correct that a one-year
limitation/three-year repose period applies, Plaintiffs’ claims are timely.
                                                  22
        Case 1:21-cv-08353-PAE Document 62 Filed 07/11/22 Page 29 of 37




unsupportable theory that the limitations period ran before Plaintiffs made their purchases, such

that no timely claim was ever possible, even if brought within Section 29(b)’s repose period.

       This remarkable position—that Plaintiffs’ claims (brought within the repose period) were

void ab initio—would upset one of the most fundamental principles of timeliness analysis: that a

limitations period does not begin to run until the last element of a claim occurs, so that there is a

window in which a claim can be brought. Smith v. Campbell, 782 F.3d 93, 100 (2d Cir. 2015) (“[I]t

is the standard rule that accrual occurs when the plaintiff has a complete and present cause of

action, that is, when the plaintiff can file suit and obtain relief.”) As the U.S. Supreme Court has

recognized in analyzing the securities laws, “limitations periods begin to run when the cause of

action accrues—that is, when the plaintiff can file suit and obtain relief.” California Pub.

Employees’ Ret. Sys. v. ANZ Sec., Inc., 137 S. Ct. 2042, 2049 (2017) (internal quotation marks

omitted). This timing is what distinguishes a limitations period from a statute of repose, which

“begin[s] to run on the date of the last culpable act or omission of the defendant.” Id. (internal

quotation marks omitted). Because Section 29(b)’s one-year period is a statute of limitations, rather

than a statute of repose, it runs from when Plaintiffs could first file suit—which date logically

cannot have preceded the sales they seek to rescind. Defendants’ approach—which measures the

limitations period from the date of their first solicitation (even though a solicitation cannot be said

to be “successful[],” Pinter, 486 U.S. at 647, until a sale occurs)—would transform the statute of

limitations into a one-year statute of repose, thus rendering superfluous the three-year statute of

repose that Congress actually provided.9



9
 Besides incorrectly treating Section 29(b)’s limitations period as a repose period, the decision in
Anderson v. Binance, 2022 WL 976824, at *3 (S.D.N.Y. Mar. 31, 2022), incorrectly turns the
discovery element of the limitations period—which should lengthen the period in which a plaintiff
can assert a claim—into a knowledge defense that contracts it. Although Sections 11 and 12(a)(2)


                                                  23
        Case 1:21-cv-08353-PAE Document 62 Filed 07/11/22 Page 30 of 37




       The Second Circuit has already rejected Defendants’ position in the context of Section

12(a)(1) of the Securities Act, whose limitation period Defendants appear to assume applies.

In Diskin v. Lomasney & Co., Judge Friendly wrote that where liability under Section 12(a)(1) was

predicated on an illegal offer, and commenced more than a year after the offer but within one year

of the sale, “it would be unreasonable to read [the statute of limitations] as starting the short period

for an action [under Section 12(a)(1)] at a date before the action could have been brought—a

construction which might lead in some extreme cases to a running of the statute of limitations

before the claim had ever arisen.” 452 F.2d 871, 875–76 (2d Cir. 1971). That “extreme case” is

precisely what Defendants seek to impose here, and they provide no reason to believe that Section

29(b) is unlike Section 12(a)(1), or that its limitations period can expire before a claim arises. See

Wigand v. Flo-Tek, Inc., 609 F.2d 1028, 1033 n.5 (2d Cir. 1979) (citing Diskin for the proposition

that “the limitations period here begins to run only after the sale, because it would be unreasonable

to have the limitations period begin to run before the claim accrued, I. e. [sic], before the sale

occurred.”); Direction Assocs., Inc. v. Programming & Sys., Inc., 412 F. Supp. 714, 717 (S.D.N.Y.

1976) (Diskin “held that the one-year provision in section 77m does not commence to run on an

illegal offer until the plaintiff acquires the shares; otherwise, the statute of limitations could run

before the claims had even arisen.”). Because the Complaint was filed within one year of the Token

purchases at issue, Plaintiffs’ Section 29(b) claims are timely.

III.   The Amended Complaint Provides Adequate Notice To Each Defendant

       Defendants’ argument for dismissal under Federal Rule of Civil Procedure 8 also fails. The

Amended Complaint’s use of the shorthand “Coinbase” for two interrelated Coinbase entities—




of the Securities Act do contain knowledge defenses, see 15 U.S.C. §§ 77k(a), 77l(a)(2), neither
Section 12(a)(1) nor Section 29(b) does.
                                                  24
        Case 1:21-cv-08353-PAE Document 62 Filed 07/11/22 Page 31 of 37




which hold themselves out to the public as a single company and offer no transparency about their

respective roles—provides each Defendant with appropriate notice of the allegations against it.

       Plaintiffs clearly allege that both Coinbase entities—Coinbase Global and Coinbase, Inc.—

violated securities laws by soliciting and selling unregistered securities,10 failing to register the

Coinbase Exchanges with the SEC, and failing to register as a broker/dealer. Plaintiffs also allege

that both entities “are operated as one corporation,” that they share an office, and that their own

SEC filings “refer[] to the two entities jointly as the ‘Company.’” AC ¶ 11. Plaintiffs further allege

how the two Coinbase entities act as one: Coinbase, Inc. “is a wholly-owned subsidiary of

Coinbase Global, Inc.,” id., which operates under the “consistent and daily management” of

Coinbase Global’s CEO, Defendant Armstrong. Id. ¶ 12. By controlling Coinbase Global,

Armstrong necessarily controls its wholly-owned subsidiary. See infra Part IV. To the extent

Defendants dispute these allegations, they raise a factual issue that cannot be resolved at this stage.

       Courts routinely hold that Rule 8 is satisfied in similar circumstances. “Rule 8 does not

require Plaintiffs to identify each of the … Defendants by name each time the Complaint makes

an allegation that applies equally to all.” In re Polaroid ERISA Litig., 362 F. Supp. 2d 461, 471

(S.D.N.Y. 2005). Thus, “[t]he fact that most of Plaintiffs’ claims apply to all Defendants and that

the factual allegations refer to them collectively does not render the Complaint violative of Rule

8.” Id.; see also Vantone Grp. LLC v. Yangpu NGT Indus. Co., Ltd., 2015 WL 4040882, at *4

(S.D.N.Y. Jul. 2, 2015) (“Nothing in Rule 8 prohibits collectively referring to multiple defendants

where the complaint alerts defendants that identical claims are asserted against each defendant.”



10
  Although Defendants concede that whether the Tokens are securities cannot be resolved on a
motion to dismiss, see MTD 1 n.2, they disparage Plaintiffs’ allegations on this issue as
“conclusory,” id. at 1. That pejorative is easily rejected. The Amended Complaint analyzes each
Token and alleges specific facts to show that each is a security under federal and state law. AC ¶¶
77–908. Rule 8 does not require a more detailed recitation of facts.
                                                  25
        Case 1:21-cv-08353-PAE Document 62 Filed 07/11/22 Page 32 of 37




(cleaned up)). For example, in Anwar v. Fairfield Greenwich Ltd., the complaint included

allegations against a group of entities collectively referred to as “Citco.” 728 F. Supp. 2d 372, 422

(S.D.N.Y. 2010). The Citco Defendants—like Defendants here—argued that “grouping all of the

Citco Defendants together as ‘Citco’ in the [complaint] without articulating what alleged acts are

attributable to each defendant” violated Rule 8(a). Id. Judge Marrero rejected this argument

because the plaintiffs “assert[ed] a factual basis” for making “allegations against the Citco

Defendants as a whole,” “clearly define[d] Citco in the [complaint] to include each of the Citco

Defendants,” and alleged facts about “the relationship among the Citco Defendants.” Id. at 422–

23. This reasoning applies equally here.

       Moreover, even if the Amended Complaint did not make clear that Plaintiffs accuse each

Coinbase entity of the same conduct, it would still satisfy Rule 8 through the “common enterprise”

theory, under which “each of the interrelated companies may be held liable for the actions of the

other.” People v. Debt Resolve, Inc., 387 F. Supp. 3d 358, 365 (S.D.N.Y. 2019). At the pleading

stage, the plaintiff “need only allege facts plausibly supporting the existence of a common

enterprise, not prove that such an enterprise in fact exists.” Id. at 366. Here, Plaintiffs allege that

the two defendant Coinbase entities share an office, describe themselves in SEC filings as a single

company, and “are operated as one corporation” under common control by Armstrong. AC ¶¶ 11–

12. Plaintiffs further allege that Armstrong has taken steps to “promote Coinbase,” as a single

company. Id. ¶ 16. These allegations make it more than plausible that the two Coinbase entities

operate as a common enterprise. See People, 387 F. Supp. 3d at 366 (Rule 8(a) satisfied where

complaint contained “sufficient factual allegations … to plead common enterprise liability”).

Defendants’ reliance on Wang v. Verizon Communication Inc., where the complaint “alleged no




                                                  26
        Case 1:21-cv-08353-PAE Document 62 Filed 07/11/22 Page 33 of 37




facts to support a finding” of a common enterprise, 2020 WL 5982882, at *2 (S.D.N.Y. Oct. 8,

2020) (emphasis added), is thus misplaced.

       The Court should also reject Defendants’ alternative suggestion to dismiss only Coinbase

Global under Rule 8 because it is not a party to the Coinbase User Agreement. Defendants cite

Patrico v. Voya Financial, Inc., where the court dismissed a defendant that was not “a party to the

[contract] underlying [the] dispute.” 2017 WL 2684065, at *5 (S.D.N.Y. Jun. 20, 2017). But as

already explained, see supra Part I.B., the User Agreement does not “underl[ie]” Plaintiffs’ claims,

which are exclusively statutory; on the contrary, as Defendants freely acknowledge, the Amended

Complaint nowhere references the User Agreement. MTD 7. Defendants’ further assertion that

Coinbase Global does not “provide any of the services at issue in this action,” MTD 23, is a

contested factual matter that cannot be resolved on the pleadings. Moreover, even if Coinbase

Global’s status as a non-party to the User Agreement somehow absolved it of primary liability,

Plaintiffs have asserted viable control person claims against it. See infra Part IV.

IV.    Plaintiffs Properly Plead Federal Control Person Claims

       Plaintiffs have adequately pleaded control person claims against Armstrong,11 and against

Coinbase Global as an alternative to primary liability. At the pleading stage, a plaintiff bringing

control person claims under the Securities Act or the Exchange Act “must plead: (1) a primary

violation; and (2) control over the primary violator.” Plumbers’ & Pipefitters’ Local No. 562 Supp.

Plan & Trust v. J.P. Morgan Acceptance Corp., 2012 WL 601448, at *20 (E.D.N.Y. Feb. 23, 2012)

(applying Section 15 of the Securities Act); In re Parmalat Secs. Litig., 375 F. Supp. 2d 278, 307



11
   Since the filing of the Amended Complaint, Defendants’ counsel have represented to Plaintiffs
that Armstrong is not the CEO of Coinbase, Inc., though they do not dispute that he is the CEO of
Coinbase Global. Based upon that representation, Plaintiffs, without prejudice, withdraw the
allegation that Armstrong is the CEO of Coinbase, Inc. (which allegation was based on public
reporting by Bloomberg and S&P). This does not limit any of Plaintiffs’ claims.
                                                 27
        Case 1:21-cv-08353-PAE Document 62 Filed 07/11/22 Page 34 of 37




(S.D.N.Y. 2005) (“Parmalat I”) (Section 20(a) of Exchange Act). No further culpable conduct by

the control person need be shown where the underlying primary violation is one of strict liability.

See In re Vivendi Universal, S.A., 381 F. Supp. 2d 158, 187–88 (S.D.N.Y. 2003) (collecting cases).

       The Amended Complaint makes the requisite showing for control person liability against

Armstrong and Coinbase Global. As an initial matter, Plaintiffs plausibly allege primary violations

of the Securities Act and the Exchange Act by Coinbase Global and Coinbase, Inc. See supra Parts

I & II. Plaintiffs also allege particularized facts showing Armstrong controls both entities and that

Coinbase Global in turn controls Coinbase, Inc. The test for control is a functional one and does

not depend on any specific legal relationship. See SEC v. First Jersey Secs., Inc., 101 F.3d 1450,

1472–73 (2d Cir. 1996); CompuDyne Corp. v. Shane, 453 F. Supp. 2d 807, 829 (S.D.N.Y. 2006)

(“Whether a person is a ‘controlling person’ is a fact-intensive inquiry, and generally should not

be resolved on a motion to dismiss.”). Here, the Amended Complaint alleges, and Defendants do

not meaningfully dispute, that Coinbase Global exercises total control over Coinbase, Inc.

Coinbase Global wholly owns Coinbase, Inc. and has the power to direct or cause the direction of

the management and policies of Coinbase, Inc. Id. ¶¶ 11, 1005–09. The Amended Complaint also

states that both Coinbase entities are “operated as one corporation”—referred to in Defendants’

own SEC filings as the “Company”—with a shared office. Id. ¶ 11. See In re Global Crossing Ltd.,

2005 WL 1875445, at *4 (S.D.N.Y. Aug. 5, 2005) (denying motion to dismiss where plaintiffs

alleged more than the “mere existence of a parent/subsidiary relationship” and had not yet had an

opportunity for discovery); Parmalat I, 375 F. Supp. 2d at 310. This case thus differs from

Defendants’ cited cases (MTD 24–25) where the allegations of control were conclusory.

       As for Armstrong, the Amended Complaint alleges that he has daily management

responsibilities over both Coinbase entities’ operations—including “the decision not to register as



                                                 28
        Case 1:21-cv-08353-PAE Document 62 Filed 07/11/22 Page 35 of 37




a securities exchange or a broker-dealer and the decision to list unregistered securities.” AC ¶¶ 12,

1011–14. Plaintiffs thus offer a particularized basis for Armstrong’s liability that goes well beyond

his undisputed status as an officer and director of Coinbase Global.12

       Finally, it is appropriate for Plaintiffs to plead both primary claims and alternative control

person claims against Coinbase Global. “While a defendant ultimately may not be held liable as

both a primary violator and a controlling person, a plaintiff may plead alternative theories of

liability in the complaint.” Mendali v. Och-Ziff Capital Mgmt. Grp. LLC, 164 F. Supp. 3d 568, 577

n.4 (S.D.N.Y. 2016) (internal quotation marks omitted).

V.     The Amended Complaint Properly Pleads Claims Under State Law

       A.      The State Claims Survive For The Same Reason As The Federal Claims

       Plaintiffs’ state law claims survive because Plaintiffs have plausibly alleged that Coinbase

solicited or sold each Token. See supra Part I. In addition, one of Coinbase’s arguments for

dismissing Plaintiffs’ claims under Section 29(b)—that the purchases of Tokens do not constitute

“contracts,” MTD 19—has no application under state law, as all three state statutes refer to

“purchases” and “sales” rather than contracts. Compare 15 U.S.C. § 78cc(b), with Cal. Corp. Code

§ 25501.5; Fla. Stat. § 517.211; N.J. Stat. § 49:3-71. Thus, even if Plaintiffs’ purchases of Tokens

were not “contracts” (and they are), that would not impair Plaintiffs’ state broker/dealer claims.




12
  Defendants suggest that because Armstrong is formally one layer removed from Coinbase, Inc.,
a claim based on his control of Coinbase, Inc. sounds improperly in “tertiary liability.” MTD 25
(quoting Fezzani v. Bear, Stearns & Co., 384 F. Supp. 2d 618, 646 n.10 (S.D.N.Y. 2004)). But
Defendants’ reliance on a footnote in Fezzani is misplaced. The court there “had already dismissed
plaintiffs’ control claims against Bear Stearns as time-barred.” In re Tronox, Inc., 769 F. Supp. 2d
202, 220 (S.D.N.Y. 2011) (distinguishing Fezzani). Otherwise, the Fezzani court “may well have
found that plaintiffs stated a claim against Bear Stearns, and seriously considered whether the
senior officer, too, could be found to control Baron vis-a-vis his position at Bear Stearns.” In re
Tronox, 769 F. Supp. 2d at 220–21.
                                                 29
        Case 1:21-cv-08353-PAE Document 62 Filed 07/11/22 Page 36 of 37




       B.      The State Law Claims Are Timely

       Defendants do not challenge the timeliness of (i) Plaintiffs’ claims under New Jersey law,

nor (ii) Plaintiffs’ unregistered securities claims under California and Florida law. With respect to

their arguments as to the timeliness of the California and Florida unregistered broker/dealer claims,

Defendants advance the same incorrect argument as they do as to Section 29(b), and fail to

acknowledge that Plaintiffs claims could not accrue under California or Florida law until they

purchased the Tokens (which occurred within one year of suit). See supra Part II.C; see also

Jackson v. Fischer, 2015 WL 1143582, at *22 (N.D. Cal. Mar. 13, 2015) (under California law,

“a cause of action accrues at the time when the cause of action is complete with all of its

elements”); GLK, L.P. v. Four Seasons Hotel Ltd., 22 So. 3d 635, 637 (Fla. Dist. Ct. App. 2009)

(claim accrued at “time of the July 23, 2004, transaction”); Fla. Stat. § 95.031 (under Florida law,

a “cause of action accrues when the last element constituting the cause of action occurs”).

       C.      The State Law Control Person Claims Survive

       Coinbase addresses Plaintiffs’ state law control person claims only in a footnote,

suggesting that these claims fail because Plaintiffs fail to allege substantive violations. MTD 24

n.24. But California and New Jersey law impose near per se control person liability on directors

and principal executive officers for breaches of securities laws. Because Plaintiffs have properly

pleaded primary violations under both statutes and met the showing for control person liability

under federal law, see supra Part IV, as well as the more lenient standards under state law, the

state law control person claims survive. See Cal. Corp. Code § 25504; N.J. Stat. § 49:3-71(d).

                                          CONCLUSION

       For the above reasons, Plaintiffs respectfully request that the Court deny the Motion. In the

alternative, if the Court grants the Motion in full or in part, Plaintiffs request that the dismissal be

without prejudice and that permission to replead be granted.

                                                  30
     Case 1:21-cv-08353-PAE Document 62 Filed 07/11/22 Page 37 of 37




Dated: New York, New York                           Respectfully submitted,
       July 11, 2022

      By: /s/ Steven L. Bloch                       By: /s/ Jordan A. Goldstein
      Steven L. Bloch                               Jordan A. Goldstein
      Ian W. Sloss                                  Mitchell Nobel
      SILVER GOLUB & TEITELL LLP                    SELENDY GAY ELSBERG PLLC
      184 Atlantic Street                           1290 Avenue of the Americas
      Stamford, CT 06901                            New York, NY 10104
      Tel: 203-325-4491                             Tel: 212-390-9000
      sbloch@sgtlaw.com                             jgoldstein@selendygay.com
      isloss@sgtlaw.com                             mnobel@selendygay.com

     Attorneys for Plaintiffs Louis Oberlander, Henry Rodriguez, Christopher Underwood, and
     the Putative Class




                                           31
